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                                                                                UNITED STATES DISTRICT COURT
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                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                9                                 (SAN FRANCISCO DIVISION)
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                                               11   IN RE: CATHODE RAY TUBE (CRT)                        Case No. 07-5944 SC
                                                    ANTITRUST LITIGATION                                   MDL No. 1917
                                               12
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




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                                               14   This Document Relates To:

                                               15   Sharp Electronics Corp., et al. v. Hitachi    [PROPOSED] ORDER RE
                                                    Ltd., et al., Case No. 13-cv-1173             DEFENDANTS’ JOINT MOTION
                                               16                                                 IN LIMINE NO. 9 TO EXCLUDE
                                               17   Sharp Electronics Corp., et al. v.            CERTAIN EXPERT TESTIMONY
                                                    Koninklijke Philips Elecs., N.V., et al.,     OF JERRY A. HAUSMAN
                                               18   Case No. 13-cv-2776
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                                                      [PROPOSED] ORDER RE DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN
                                                                          EXPERT TESTIMONY OF JERRY A. HAUSMAN
                                                                               Case No. 07-5944-SC, MDL No. 1917
                                                       Case 4:07-cv-05944-JST Document 3591-2 Filed 02/13/15 Page 2 of 2




                                                1          Upon consideration of Defendants’ Joint Motion In Limine No. 9 to Exclude Certain
                                                2   Testimony of Jerry A. Hausman and the papers and declarations submitted by the parties in
                                                3   connect with that Motion, it is hereby:
                                                4          ORDERED that the Motion is GRANTED; and it is further
                                                5          ORDERED that Jerry A. Hausman is precluded from presenting at trial the testimony
                                                6   concerning the effect of Defendants’ information exchanges on the North American CPT
                                                7   market and Sharp’s alleged damages that resulted from the information exchanges, which are
                                                8   discussed in his expert report, dated April 15, 2014, in paragraphs 17-77.
                                                9          IT IS SO ORDERED.
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                                               12   Dated: _________________________                   _________________________________
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13                                                      HONORABLE SAMUEL CONTI
                                                                                                       UNITED STATES DISTRICT JUDGE
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                                                     [PROPOSED] ORDER RE DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE CERTAIN
                                                                         EXPERT TESTIMONY OF JERRY A. HAUSMAN
                                                                              Case No. 07-5944-SC, MDL No. 1917
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